Case 1:17-cr-00101-LEK Document 466-1 Filed 04/25/19 Page 1 of 1 Page|D #: 4004

Yates, Gregg (USAHl)

From: Yates, Gregg (USAl-ll)

Sent: Wednesday, January 23, 2019 6:45 Pl\/l

To: _@hawaii.rr.com; Lars Robert lsaacson; Birney Bervar
Cc: Johnson, Ron (USAl-ll)

Subject: Williams electronic media

Counse|:

We have completed copying various electronic media and are making these available for your inspection. T-here is a
total of about 2.146 TB of data available for inspection |f you would like us to make copies of the files on these drives
for you, please provide us with either a single 3TB hard drive or two ZTB hard drives.

I\/lost of the data (1.95 TB) represent files kept on media belonging to Anthony Williams, which were seized in
connection with the investigation of l\/ir. Williams in I\/liami, Florida, and which were maintained by the FB| field office
there. We received the files in November 2018 after the U.S. Attorney for the Southern District of Florida declined
prosecution. We recently completed processing these files and are making the files available for your inspection now.

Two other data sources, namely Barbara Williams's HP |aptop (117 GB), and I\/laryjane Castillo’s App|e desktop, which
was utilized by Anthony Williams in Honolulu (included in figure above), were reviewed and relevant documents were
previously produced in discovery. Nonethe|ess, the entirety of the files on these computers is now being made available
for inspection

Finally, the contents of Anabel Cabebe's Toshiba laptop (79 GB) is also being made available for inspection and is being
produced in its entirety.

Let me know if you have any further questions

Gregg Paris Yates

ASSiStant U.S. Attorney

United States Attorney’e Office

300 Ala Moana Boulevard, Room 6-100
Honolulu, Hawaii 96850

808 440~9220
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